

People v Rivera (2022 NY Slip Op 05764)





People v Rivera


2022 NY Slip Op 05764


Decided on October 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 13, 2022

Before: Renwick, J.P., Friedman, Singh, Shulman, Higgitt, JJ. 


Ind. No. 0176/16, 1856/16 Appeal No. 16435 Case No. 2017-2210 

[*1]The People of the State of New York, Respondent,
vJuan Rivera, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Rebecca D. Martin of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Karl Z. Deuble of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Daniel P. Fitzgerald, J.), rendered October 6, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 13, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








